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                                         October 21, 2022
Ms. Molly C. Dwyer, Clerk
U.S. Court of Appeals for the Ninth Circuit
95 7th Street
San Francisco, CA 94103

Re: Todd Yukutake et. al., v. Holly T. Shikada et. al., No. 21-16756
Dear Ms. Dwyer:
        I write the Court to inform it of the Southern District of Western Virginia’s recent
opinion in United States v. Price, No. 2:22-cr-00097, 2022 U.S. Dist. LEXIS 186571 (S.D. W.
Va. Oct. 12, 2022) (attached). There, the Court held unconstitutional 18 U.S.C. § 922(k), which
prohibits possession of a firearm with an altered, obliterated, or removed serial number. This
opinion is relevant to this Court’s determination of Plaintiffs’ matter because the Price Court’s
legal reasoning supports Plaintiffs’ contention that both Hawaii laws at issue in this litigation are
unconstitutional.
        In Price, the Court found that “1791” was the correct starting point to conduct a historical
analysis. Id at *11. The Court then found 18 U.S.C. § 922(k)’s purpose is to prevent crime. “It is
difficult to imagine that this societal problem did not exist at the founding.” Id. *14 (S.D. W. Va.
Oct. 12, 2022). Therefore, the Court could not engage in analogical reasoning to uphold 18
U.S.C. § 922(k). And even if it could, there was no colonial analog to prohibiting firearms
without serial numbers. Therefore, it found the law to be unconstitutional.
        Similarly, both Hawaii laws at issue do not have a historical equivalent yet they both
were drafted to address firearm violence which also existed during the colonial era. Therefore,
the inquiry should end there. However, even if this Court were to engage in analogical reasoning,
Hawaii has failed to produce any applicable analogs. Rather, the inapplicable examples it
produced demonstrates that the Founding Era addressed firearm violence through "materially
different means”. Id at *16 (quoting N.Y. State Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111,
2131 (2022)). “Under Bruen, this is "evidence that [the] modern regulation is unconstitutional"”.
Id at * 17 (quoting Bruen, 142 S. Ct. at 2131).


       Yours very truly,
                                              /s/ Alan Beck
                                              Alan Beck
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                                  CERTIFICATE OF SERVICE
        I served the foregoing by electronically filing it with the Court’s CM/ECF system which
generated a Notice of Filing and effects service upon counsel for all parties in the case. I certify
that this supplement has 298 words as calculated by Microsoft Office 365.
       I declare under penalty of perjury that the foregoing is true and correct.
 Executed this the 21st day of October 2022.


                                      s/ Alan Beck
